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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )       CRIMINAL ACTION NO.
     v.                            )           2:21cr49-MHT
                                   )
WILLIAM RICHARD CARTER,            )
JR.

                                ORDER

    Based on the representations made by the parties

during the video conference held on January 26, 2022,

it is ORDERED that each side has 40 minutes for opening

statements.

    DONE, this the 26th day of January, 2022.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
